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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :
               v.                             :      Crim. No. 21-cr-00024 (EGS)
                                              :
ROBERT GIESWEIN                               :
                                              :
                       Defendant.             :

                                    JOINT STATUS UPDATE

       The United States of America, by and through its attorney, the Acting United States

Attorney for the District of Columbia, and Robert Gieswein, by and through his attorney Ann

Mason Rigby, Esq., hereby provide this joint status update addressing the parties’ best estimate

for the length of trial, as directed by the Court’s Minute Order entered September 15, 2021.

       The parties’ best estimate at this moment is that the government’s case-in-chief will take

approximately one week, not including jury selection, and that the defense case will take

approximately three days. The parties note that these are only estimates made at a time when

discovery is not yet complete, and the pace of trial could be affected by any protocols in place to

mitigate the ongoing COVID-19 pandemic at the time the case goes to trial.
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          Undersigned counsel has consulted with Ann Mason Rigby, Esq., counsel for the

defendant, and Ms. Rigby has agreed that undersigned counsel may file this as a joint status

update.

                                                Respectfully submitted,

                                                CHANNING D. PHILLIPS
                                                Acting United States Attorney
                                                DC Bar No. 415793

                                          By:        /s/ Erik M. Kenerson
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